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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RICHARD JAEGER                                     :      CIVIL ACTION
                                                   :
       v.                                          :
                                                   :
NCO FINANCIAL SYSTEMS, INC.                        :      NO. 11-1612

                                           ORDER

       AND NOW, this 10th day of May, 2011, it is ORDERED that a PRETRIAL

CONFERENCE shall be held on Tuesday, June 7, 2011, at 1:00 p.m., in Room 9614,

United States Courthouse, 601 Market Street, Philadelphia, Pennsylvania.

       IT IS FURTHER ORDERED as follows:

       1.      The parties shall make the required initial disclosures under Fed. R. Civ. P.

26(a) within 14 days of the date of this Order;

       2.      The parties shall commence discovery immediately because it is expected

that the parties shall have conducted substantial discovery before the Rule 16 conference;

       3.      After consultation with counsel for all parties, counsel shall complete and file

with the Clerk the required Report of the Rule 26(f) Meeting incorporating all the

information described in Judge Savage’s form Report on or before June 2, 2011.

       4.      Counsel shall follow Judge Savage’s Policies and Procedures which can be

found at www.paed.uscourts.gov.



                                                   /s/Timothy J. Savage
                                                   TIMOTHY J. SAVAGE, J.
